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                          IN THE UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA

                               CASE NO.: 6:13-cv-1243-Orl-36DAB

 AVIATION ONE OF FLORIDA, INC.,       §
                                      §
 Plaintiff,                           §
                                      §
                                      §
 V.
                                      §
                                      §
 AIRBORNE INSURANCE CONSULTANTS       §
 (PTY), LTD, AFRICA TOURS AND TRAVEL, §
 LLC D/B/A S.A. GUINEE, MOHAMED       §
 DIAOUNE AND CLYDE & CO., LLP,        §
                                      §
 Defendants.

              PLAINTIFF’S MOTION FOR ENTRY OF ORDER DISMISSING
                        DEFENDANT, MOHAMED DIAOUNE

        Plaintiff, AVIATION ONE OF FLORIDA, INC., (“Aviation One”), by and through

 undersigned counsel, and pursuant to Rule 41(a)(2), Federal Rules of Civil Procedure, files this

 motion for entry of an order dismissing Defendant, MOHAMED DIAOUNE (“Diaoune”), and in

 support thereof, states as follows:

        1.      The action arises out of damage to an aircraft that was the subject of a lease between

 Aviation One and Defendant, Africa Tours and Travel LLC d/b/a S.A. Guinee (“SA Guinee”).

        2.      Diaoune was included as a defendant in this action as personal guarantor of S.A.

 Guinee’s obligations to Aviation One under the lease, pursuant to a guaranty executed by Diaoune.

 [DE 67-1, p. 10].

        3.       Aviation One has entered into a consent judgment with S.A. Guinee. The consent

 to judgment has also been filed with the Court. See Plaintiff’s Notice of Settlement and Stipulation




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 for Entry of Final Judgment against Defendant, Africa Tours and Travel, LLC d/b/a SA Guinee

 filed of even date herewith.

        4.      Aviation One has since determined with his cooperation that Diaoune is judgment

 proof and therefore, any further legal proceedings against Diaoune at this time would be futile and

 a waste of court resources and those of Aviation One, which has already suffered enormous losses

 and substantial expense in an attempt to seek recompense from wrongdoers. As such, Aviation

 One seeks to voluntarily dismiss Diaoune from this action without prejudice.

        5.      Diaoune and S.A. Guinee filed a Motion to Open Default on January 21, 2014,

 which attached a “proposed answer.” [DE 29-2]. 1

        6.      Because Diaoune has filed an answer in this proceeding—albeit “proposed,”

 voluntary dismissal must be by stipulation of the parties under Rule 41(a)(1)(ii), or by Court order

 under Rule 41(a)(2).

        7.      Diaoune has not filed any counterclaims, crossclaims, or third party claims in this

 action, and none are filed against Diaoune by other parties.

        8.      Because of the difficulty in reaching defendant, Diaoune, who is pro se and often

 out of the United States, to obtain an executed stipulation, Aviation One respectfully requests that

 this Court grant Aviation One’s Motion and enter an order of dismissal without prejudice of

 Mohammed Diaoune.

        9.      Because the dismissal would impose no burdens or obligations on Diaoune, and

 would end this litigation against him, a court order would have the same effect as a joint stipulation

 between the parties, and would permit dismissal of Diaoune without further delay.



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   This court denied the Motion to Open Default as moot inasmuch as no order of default had been
 entered against Diaoune at the time he filed his motion. [DE 30].


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        Plaintiff, AVIATION ONE OF FLORIDA, INC., respectfully requests entry of an order

 dismissing Defendant, MOHAMED DIAOUNE, from this action without prejudice.

                                CERTIFICATE OF SERVICE

        I certify that on _____, 2015 I electronically filed the foregoing document with the Clerk

 of Court using CM/ECF which will send notification of such filing(s) to counsel of record. In

 addition, a copy has been furnished by U.S. Mail and email to Mohamed Diaoune, 1955 Henderson

 Way, Lawrenceville, GA 30043, self-represented.


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